       Case 1-18-01035-cec            Doc 31       Filed 11/22/19    Entered 11/25/19 09:35:31




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                          Chapter 7

Edwin Moleros,                                                  Case No. 18-40744-cec

                                     Debtor.
------------------------------------------------------------x
Daniel Hernandez,
                                    Plaintiff,

-against                                                            Adv. Pro. No. 18-1035-CEC

Edwin Moleros,
                                    Defendant.
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                          ORDER DIRECTING COMPLIANCE WITH
                  E.D.N.Y. LOCAL BANKRUPTCY RULES 4004-1 AND 4007-1

       WHEREAS, on March 17, 2018, Daniel Hernandez (the “Plaintiff”) commenced an
adversary proceeding against Edwin Moleros (the “Defendant”) pursuant to 11 U.S.C. §§ 523
and 727; and

       WHEREAS, on November 4, 2019, the parties filed a proposed stipulation discontinuing
the adversary proceeding, and submitted the stipulation for approval by the Court; and

        WHEREAS, E.D.N.Y. Local Bankruptcy Rule 4004-1 provides:

                 A complaint objecting to discharge may be settled or dismissed only
                 if the debtor or representative of the objecting party files an affidavit
                 or affirmation setting forth what consideration, if any, has been paid
                 or promised to the objecting party. The affidavit or affirmation must
                 be served upon the trustee, all creditors, and other parties in interest.

        AND WHEREAS, E.D.N.Y. Local Bankruptcy Rule 4007-1 provides:

                 In all instances not governed by Bankruptcy Code § 524(d), an
                 adversary proceeding objecting to dischargeability of a debt may be
                 settled or dismissed only if a proponent of the settlement or
                 dismissal files an affidavit or affirmation setting forth the terms of
                 any agreement entered into between the debtor and creditor relating
                 to the payment of the debt in whole or in part.
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      NOW, THEREFORE, it is

       ORDERED, that the parties shall comply with E.D.N.Y. Local Bankruptcy Rules 4004-1
and 4007-1.




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 Dated: Brooklyn, New York                                       Carla E. Craig
        November 22, 2019                                United States Bankruptcy Judge
